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                      Inner City Press
October 30, 2020
By E-mail to NathanNYSDChambers@nysd.uscourts.gov
Hon. Alison J. Nathan, United States District Judge
Southern District of New York, 40 Foley Square, New York, NY 10007
Re: US v. Nejad, 18-cr-224 (AJN), Opposition to Requests To Seal / Motion for
Leave To Be Heard
Dear Judge Nathan:
  On behalf of Inner City Press and in my personal capacity, I have been covering
the above-captioned case since before the trial, and since. This is timely
opposition, as invited by your Order of October 20, 2020, to the Government's
requests to seal, filed on October 23.
 The irregularities in the U.S. Attorney's Office's disclosure and other other
practices in this case - and in other cases Inner City Press is covering in the SDNY,
some cited below - militate against shield these judicial documents and those
government employees involved from public scrutiny and accountability.
  In response to your September 16 order, the US Attorney's Office submitted
some 1,400 pages on a disk, all under seal. On October 23 redacted cover letter(s)
appeared in the docket, with lines like "maintain under seal a letter
[REDACTED]," and "based on the exising sealing Order in this case related to
[REDACTED.]"
   Another cover email, referencing the submission of a "disk with the exhibits
and other responsive communications" merely states, without argument, that it is a
"request that these materials be filed under seal."
   As the Court is aware, the public and the press have a presumptive First
Amendment and common law right of access to criminal proceedings and records.
See Press Enterprise Co. v. Superior Court of California, 464 U.S. 501, 508 (1984).
The presumption of openness can only be overcome if “specific, on the record
findings are made demonstrating that closure is essential to preserve higher values
and is narrowly tailored to serve that interest.” Press–Enterprise Co. v. Superior
Court, 478 U.S. 1, 13-14 (1986)


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Non-parties such as Inner City Press and myself have standing to intervene in
criminal proceedings to assert the public’s right of access. United States v. Aref,
533 F.3d 72, 81 (2d Cir. 2008).
 If deemed necessary, PLEASE TAKE NOTICE that Inner City Press and its
undersigned reporter, in personal capacity, will move this Court before Honorable
Alison J. Nathan, U.S. District Judge for the Southern District of New York, at a
date and time directed by the Court, for entry of an order granting permission to
the heard on/and the unsealing of documents filed and/or submitted in 18-cr-224
(AJN), pursuant to Docket No. 382 in that case and the Court's inherent power, and
such other and further relief as the Court deem just and proper.
Here, the requested sealing(s) and withholdings go entirety go beyond those
requested even in the CIA trial before Judge Crotty, US v. Schulte, 17 Cr. 548.
   In that case, Inner City Press vindicated the public's right to know, in the
docket, see https://twitter.com/big_cases/status/1232758559408087041 and
https://www.usatoday.com/documents/6786787-Docket-Annotation
 Inner City Press after that got even more sensitive filings unsealed in a North
Korea sanctions case before Judge Castel, US v. Griffith, 20-cr-15 (PKC), Docket
No. 33 (LETTER by EMAIL as to Virgil Griffith addressed to Judge P. Kevin
Castel from Matthew Russell Lee, Inner City Press, dated 5/18/2020, re: Press
Access to documents in US v. Griffith, 20-cr-15), 40 (order to unseal) and 41
unsealed filings). See also Inner City Press' May 9, 2020, filing to this Court for
openness in US v. Randall, 19-cr-131, No. 343.
  And see Judge Furman's Order in US v. Avenatti, 19-cr-374, docket no. 85,
granting application, https://beta.documentcloud.org/documents/20385957-
mrl1furmanavenattisdny082820
 As the Court surely knows, similar issues have arisen in US v. Ahuja and Shor
and number other, lower profile cases. As simply one record (Oct 28) example, it
emerged in a telephone conference in 19-cr-144 (AHK) that the US Attorney's
Office withheld six terabytes of discovery until 17 months into that case, after one
of the defendants had pleaded guilty.
 The U.S. Supreme Court has recognized that reporting by the news media allows
members of the public to monitor the criminal justice system without attending
proceedings in person. Richmond Newspapers, Inc. v Virginia, 448 U.S. at 572-73


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(1980). By attending and reporting on court proceedings, members of the press
"function[] as surrogates for the public." Id. at 573.
  The documents including electronic documents at issue here should not be sealed
and should be made available.
Please confirm receipt & docket this timely responsive filing, making Inner City
Press an Interested Party. Thank you.
Respectfully submitted,
/s/
Matthew Russell Lee, Esq., Inner City Press
cc: Emil.Bove@usdoj.gov, Jane.Kim@usdoj.gov, michael.krouse@usdoj.gov,
Rebekah.Donaleski@usdoj.gov, shawn.crowley@usdoj.gov




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